978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Flossie W. NZONGOLA, Plaintiff-Appellant,v.BEAUFORT COUNTY, Sheriff Department, Defendant-Appellee.
    No. 92-2169.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 6, 1992
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Solomon Blatt, Jr., Senior District Judge.  (CA-92-2801-2-8-AJ)
      Flossie W. Nzongola, Appellant Pro Se.
      Ladson Fisburne Howell, Sr., Howell, Gibson &amp; Hughes, P.A., Beaufort, South Carolina, for Appellee.
      D.S.C.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Flossie W. Nzongola appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nzongola v. Beaufort County, No. CA-92-2801-2-8-AJ (D. S.C. June 2, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    